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 6                IN THE UNITED STATES DISTRICT COURT FOR
 7                               THE DISTRICT OF ARIZONA
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 9
10   United States of America,                       No. CR-19-00898-001-PHX-DLR
11   Plaintiff,
12                                                   ORDER
13   v.
14
15   David Allen Harbour,
16   Defendant.
17
18         On December 3, 2021, the United States filed an Ex Parte Petition to Revoke
19   Defendant Harbour’s Pretrial Re Release (Doc. 267). The Government later filed the
20   United States’ Supplemental Petition (Doc. 290), and the United States’ Second
21   Supplemental Petition (Doc. 326.) After holding evidentiary hearings on the detention
22   motion, Magistrate Judge Deborah M. Fine entered a Detention Order granting in part and
23   denying in part the United States Petition to Revoke Defendant Harbour’s Pretrial Release
24   ordering him detained pending further proceedings. (Doc. 346.) Both parties filed
25   objections to Judge Fine’s Detention Order, requesting a de novo hearing. On June 14,
26   2022, two days before the scheduled evidentiary hearing, the United States filed a Second
27   Superseding Indictment wherein the grand jury found probable cause to charge Defendant
28   Harbor with eight additional felonies, all allegedly committed while out on release. (Doc.
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 1   387.)
 2           Before the Court are Defendant’s Objections to Ruling in Doc. 346 (March 1, 2022)
 3   and Motion to Revoke the Order of Detention (Doc. 358), the United States Appeal of the
 4   Magistrate Judge’s Failure to Find a Violation of Certain Release Conditions (Doc. 360)
 5   and the question of Defendant’s detention or release and as to the new charges alleged in
 6   the Second Superseding Indictment. (Doc. 387.) The Court held evidentiary hearings on
 7   June 16, 2022, and June 23, 2022. In addition to the exhibits introduced at these evidentiary
 8   hearings, the parties stipulated to the admission of the exhibits admitted at the hearings
 9   before Judge Fine. The Court has considered the evidence presented and the arguments of
10   counsel.
11   I. Alleged Pretrial Release Violations
12           In the Ex Parte Petition to Revoke Defendant Harbour’s Pretrial Re Release (Doc.
13   267), the United States’ Supplemental Petition (Doc. 290), and the United States’ Second
14   Supplemental Petition (Doc. 326) the United States alleged that Defendant violated various
15   conditions of his pretrial release, including the commission of certain crimes. Judge Fine
16   correctly set forth the applicable standard of proof. For the commission of a crime the
17   standard is probable cause. For alleged violations of release conditions, the applicable
18   standard of proof is clear and convincing evidence. See 18 U.S.C. § 3148.
19           A. Alleged commission of crimes
20           Judge Fine evaluated the evidence of the allegations of criminal offenses in the
21   context of the probable cause standard of proof. However, because a grand jury, after
22   evaluating the evidence, found that probable cause was proven as to the alleged crimes, the
23   Court finds that probable cause has been shown to exist as to those offenses alleged in
24   Counts 27 through 34 of the Superseding Indictment, alleged to have occurred while
25   Defendant was out on release.
26           B. Alleged violations of conditions of release
27                  1. Avoid all direct or indirect contact with persons who are considered
28                     alleged victims, potential witnesses including Burg and Turasky


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 1                     (Doc. 17)
 2          The United States alleges that Defendant directed Bobrow to contact Burg and
 3   Turasky between June 2020 and December 2021. (Doc. 267; Doc. 290). The evidence
 4   showed that Defendant’s attorney was in contact and had communications with victims
 5   and potential witnesses and/or their attorneys in efforts to “settle” civil claims. The
 6   testimony was murky as to Defendant’s involvement in those efforts. First, a key witness
 7   to Defendant’s alleged efforts to indirectly contact Burg was Kenneth Babrow—an elderly
 8   gentlemen whose wife described him as easily confused and having a weak memory—
 9   contradicted himself in interviews about his communications with Defendant. Second, the
10   phone records are inconsistent with the claim that Defendant was in the room with Babrow
11   when he called Burg during a call which allegedly occurred in the Defendant’s presence.
12   The Court finds that the United States has not met its burden of clear and convincing
13   evidence as to this allegation.
14                 2. Defendant shall not solicit investors for any investment while on
15                      pretrial release (Doc. 17)
16          The United States alleges that Defendant violated his release condition that
17   prohibited him from soliciting investors for any investment. The evidence showed that
18   Defendant solicited Bobrow to invest $142,000 for the purchase of a residence on Georgia
19   Ave., valued at $3.7 million, for Defendant’s benefit. (Doc. 290.) The down payment on
20   the subject property included $142,000 put up by Bobrow at Defendant’s urging. Although
21   the property was purchased in the name of Mr. Shea’s company, and Defendant is not an
22   owner and will not receive any profits from the sale of the property, Defendant received
23   the economic benefit of the use of a nearly $4 million house as a family residence. The
24   Government has met its burden of clear and convincing evidence as to this allegation.
25                 3. Defendant shall notify Pretrial Services of Financial Transactions.
26                     (Doc. 221)
27          On March 2,2021, Magistrate Judge Fine Modified Defendant’s conditions of
28   release. (Doc. 221 Nos. 2 and 3).


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 1                  2.) Defendant shall not obtain new financial accounts without
                    prior notification and approval from PTS.
 2
                    3. ) Defendant shall notify PTS of all financial transactions
 3                  totaling over $1,000 that he makes or directs to be made in any
                    month to any person or entity, except for transactions that are
 4                  for attorney's fees, professional fees, expenses or debts existing
                    prior to the indictment, reoccurring payments, children's
 5                  expenses, family expenses, and regular housing payments.
                    Defendant does not, however, need to obtain PTS' approval for
 6                  any expenses or income.
 7
     Judge Fine explained that the intent of the modification was to restrict Defendant from
 8
     “obtaining new financial accounts without prior notification to and approval of Pretrial
 9
     Services.” She had previously explained to Defendant that the word “debt” as used in the
10
     conditions of release is a new financial account. (Hr’g Tr. Dec. 29, 2021, p. 19.) The
11
     Government alleges that Defendant borrowed approximately $1,950,000 without seeking
12
     approval from Pretrial Services. (Doc. 290.)
13
            Defendant argues that he did not violate the conditions of release because the
14
     $1,950,000 was an advance on expected income, not a loan. The Court finds this argument
15
     unpersuasive. An advance of income before it is owed or is due is a loan, and this particular
16
     transaction is commonly known as a pay-day loan. The Defendant’s attempt to “finesse”
17
     this transaction, which is clearly a loan, by labelling it as an advance on expected income,
18
     is an obvious attempt to circumvent the condition of release that he report financial
19
     transactions to PTS. The Government has met its burden of clear and convincing evidence
20
     as to this allegation.
21
     II. Detention or Release on Conditions Pending Further Proceedings
22
            A. Serious flight risk
23
            The Court finds that Defendant has violated his conditions of release in multiple
24
     ways. The Court also finds that, for the reasons set forth by Judge Fine in her Detention
25
     Order (Doc. 346 p.4-5), he is a serious flight risk.
26
            A. Danger to any other person or the community
27
            Pursuant to under 18 U.S.C. § 3148(b) when there is probable cause that a crime
28
     was committed on pretrial release “a rebuttable presumption arises that no condition or


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 1   combination of conditions will assure that the person will not pose a danger to the safety
 2   of any other person or the community.” (Emphasis added.) The Government argues
 3   that because of the new charges in the Superseding Indictment, charged while Defendant
 4   was out on release, the rebuttable presumption1 applies.
 5          But 18 U.S.C. § 3148 must be read in the context of entire Bail Reform Act.
 6   Otherwise, a presumption of dangerousness arises for charges upon which the Court could
 7   not have held the person in custody as a danger in the first place. That is not a consistent
 8   or logical interpretation of the Bail Reform Act. Based on the Court’s reading of 18 U.S.C.
 9   § 3148(b) there is no legal basis for the Court to apply the presumption that no condition
10   or combination of conditions will assure that the Defendant will not pose a danger to the
11   safety of any other person or the community for the new crimes alleged in the Superseding
12   Indictment.
13          The charges for which the government may request detention on dangerousness are
14   set out in 18 U.S.C. § 3142(f)(1). None of the charges in the Indictment or the Superseding
15   Indictments meet the criteria of 18 U.S.C. § 3142(f)(1).2 Generally, financial crimes do
16   not trigger the dangerousness factor. The Government’s arguments that the statutory
17   presumption of dangerousness applies to financial crimes charged for offenses occurring
18   while a defendant is out on release are based on cases where conditions are set to mitigate
19   financial dangerousness. But those cases are not on point. While the Bail Reform Act does
20   not allow detention based on dangerousness on financial crime charges, the Bail Reform
21   Act does allow the Court to set release conditions that mitigate financial danger to the
22   community. See 18 U.S.C. § 3142(c)(1)(B), including subsection (xiv) (the Court may
23   order least restrictive conditions that are “reasonably necessary to assure the appearance of
24   the person as required and to assure the safety of any other person and the community”).
25          Assuming, however, that the Government is correct and the rebuttable presumption
26          1
               For the enumerated presumption charges, “[a]lthough the presumption shifts a
     burden of production to the defendant, the burden of persuasion remains with the
27   government. See United States v. Rodriguez, 950 F.2d 85, 88 (2d Cir.1991).” United States
     v. Hir, 517 F.3d 1081, 1086 (9th Cir. 2008). The government’s evidentiary hurdle is clear
28   and convincing evidence regarding dangerousness when dangerousness is applicable. Id.
             2
               See also 18 U.S.C. § 3156(a)(4), which defines crime of violence.

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 1   in 18 U.S.C. § 3148(b) applies, Defendant has rebutted the presumption and the
 2   Government has not met its burden of proof. The Court finds that based on the evidence
 3   that Defendant has no criminal record, no violent history, no history of a drug problem, no
 4   history of an alcohol problem, and is charged with financial crimes, the Defendant has
 5   overcome the presumption that he is a danger to any other person or the community.
 6          Based on the evidence presented at the revocation hearings, and the history
 7   contained in the Court file, the Court finds that although Defendant is a flight risk, there
 8   are conditions the Court can set that can reasonably assure the Defendant’s appearance at
 9   future court proceedings and that Defendant is likely to abide by those conditions.
10          IT IS ORDERED that Defendant’s Objections to Ruling in Doc. 346 (March 1,
11   2022) and Motion to Revoke the Order of Detention (Doc. 358), are GRANTED IN PART
12   AND DENIED IN PART.
13          IT IS ORDERED that the United States’ Appeal of the Magistrate Judge’s Failure
14   to Find a Violation of Certain Release Conditions (Doc. 360) IS GRANTED IN PART
15   AND DENIED IN PART.
16          IT IS ORDERED that as to the new charges alleged in the Second Superseding
17   Indictment (Doc. 387) because the Defendant has overcome the presumption set forth in
18   18 U.S.C. § 3148(b) if it applies, and for the reasons set forth herein, the Government’s
19   request for detention with no conditions for release is DENIED.
20          IT IS FURTHER ORDERED that Defendant shall be released, under the
21   conditions set forth in the Order Setting Conditions of Release, when the bond set forth in
22   those conditions has been posted.
23          Dated this 21st day of July, 2022.
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26                                                 Douglas L. Rayes
                                                   United States District Judge
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